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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 GRANT TURNER, et al.,

                                Plaintiffs,                   Case No. 20-cv-2885

      v.

 U.S. AGENCY FOR GLOBAL MEDIA, et al.,

                                Defendants.


    PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL ENTRY OF DISMISSAL

       Plaintiffs Grant Turner, Marie Lennon, Shawn Powers, Matthew Walsh, and Hoang Oanh

Tran, by and through their undersigned counsel, hereby give notice of the voluntary dismissal of

this action without prejudice pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure.

 Dated:      May 17, 2021                      Respectfully submitted,

                                               GIBSON, DUNN & CRUTCHER LLP

                                               /s/ Theodore J. Boutrous, Jr.
                                               Theodore J. Boutrous, Jr. (D.C. Bar No.
                                               420440)
                                               333 South Grand Avenue
                                               Los Angeles, California 90071
                                               (213) 229-7000
                                               tboutrous@gibsondunn.com

                                               Mylan L. Denerstein (admitted pro hac vice)
                                               Zainab Ahmad (D.D.C. Bar No. NY0345)
                                               Lee R. Crain (D.D.C. Bar No. NY0337)
                                               Lauren Kole (admitted pro hac vice)
                                               200 Park Avenue
                                               New York, New York 10166-0193
                                               Tel: 212.351.4000
                                               MDenerstein@gibsondunn.com
                                               Zahmad@gibsondunn.com
                                               LCrain@gibsondunn.com
                                               LKole@gibsondunn.com
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                              Joshua S. Lipshutz (D.C. Bar No. 1033391)
                              GIBSON, DUNN & CRUTCHER LLP
                              1050 Connecticut Avenue, N.W.
                              Washington, DC 20036-5306
                              (202) 955-8500
                              JLipshutz@gibsondunn.com

                              Counsel for Plaintiffs




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